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 Counsel for Insys Therapeutics, Inc.



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


 DEBORAH FULLER & DAVID FULLER,                         CIVIL ACTION
 as Administrators Ad Prosequendum for the Estate
 of SARAH A. FULLER, Deceased, and
 DEBORAH FULLER & DAVID FULLER,
 Individually,

               Plaintiffs,

 vs.                                                    Case No. 2:17-cv-07877-ES-SCM

 INSYS THERAPEUTICS INC., JOHN KAPOOR,
 MICHAEL BABICH, ALEC BURLAKOFF,
 JOHN DOE #1-10 (FICTITIOUS),
 ABC CORPORATION #1-10 (FICTITIOUS),
 I/J/S/A,

               Defendants.
                                                    /


       REQUEST TO WITHDRAW AS COUNSEL PURSUANT TO LOCAL CIVIL RULE
                                  102.1




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          Request is hereby made by Nancy J. Faggianelli, pro hac vice counsel for defendant Insys

 Therapeutics, Inc. (“Insys”) in the above-captioned matter, to withdraw as counsel in the within

 case, it being represented that:

          1.     Nancy J. Faggianelli, a member of the law firm of Carlton Fields, P.A., was

 admitted pro hac vice as counsel for defendant Insys on August 8, 2018;

          2.     Insys filed its Notice of Bankruptcy Filing and Imposition of Automatic Stay with

 this Court on June 10, 2019;

          3.     Due to the bankruptcy filing and the expected dissolution of Insys, Ms.

 Faggianelli’s representation is no longer required.

          4.     Philip W. Crawford of Gibbons, PC and Adam P. Schwartz of Carlton Fields,

 P.A. will remain as counsel for Insys.

          5.     Ms. Faggianelli’s withdrawal will not interfere with or require the extension of

 any deadlines set by the Court.

          6.     Pursuant to Local Civil Rule 102.1, since other counsel for Insys is already

 present and this matter has not been set for trial, it is respectfully requested that this withdrawal

 be approved and Ms. Faggianelli be removed from further electronic notice and participation in

 this case.


 Dated: February 18, 2020

 GIBBONS P.C.                                          CARLTON FIELDS, P.A.
 Philip W. Crawford
 One Gateway Center                                    By:    /s/ Adam P. Schwartz
 Newark, New Jersey 07102-5310                         Adam P. Schwartz
 Tel: (973) 596-4500                                   Attorney ID No. 018351995
                                                       David J. Walz (admitted pro hac vice)
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                                                    Tel: (813) 223-7000

                          Counsel for Defendant Insys Therapeutics, Inc.

                                 CERTIFICATE OF SERVICE

          I hereby certify that on February 18, 2020, the aforementioned document was filed with

 the Clerk of Court via CM/ECF which will, in turn, send a Notice of Electronic Filing to all

 counsel of record.

                                                      /s/ Adam P. Schwartz
                                                      Adam P. Schwartz




                                                      SO ORDERED




                                                      Hon. Steven C. Mannion, U.S.M.J.




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